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                                        MINUTE ORDER                                                     Page 2

                              Magistrate Judge Jonathan Goodman
      Wilkie D. Ferguson, Jr. Courthouse – Courtroom 13-3                               Time 3:00 p.m.
                                                                                Date:6/13/23
Defendant: 2) WALTINE NAUTA                  J#: Summons                                :
                                                               Case #: 23-80101-CR-CANNON
AUSA: David Harbach, Jay Bratt, & Julie Edelstein Attorney: Stanley Woodward
Violation: Consp to Obstruct Justice, Witholding a Document or Surr Date: 6/13/23 YOB: 1983
           Record, Corruptly Concealing a Document or Record

Proceeding: Initial Appearance                                      CJA Appt:
Bond/PTD Held:      Yes       No      Recommended Bond:
Bond Set at: STIP- Personal Recognizance Release                    Co-signed by:
     Surrender and/or do not obtain passports/travel docs                 Language: English
     Report to PTS as directed/or            x’s a week/month by          Disposition:
     phone:          x’s a week/month in person                           Brady Order given. Defense Counsel
     Random urine testing by Pretrial
     Services                                                             requested a continuance for
     Treatment as deemed necessary                                        Arraignment and Report Re: Counsel.
     Refrain from excessive use of alcohol                                Counsel is to file a Pro Hac Vice
     Participate in mental health assessment & treatment                  motion. Both sides stipulate to a
     Maintain or seek full-time employment/education                      Personal Recognizance Release-
     No contact with victims/witnesses, except through counsel            Standard Conditions of the Bond 1 & 5
     No firearms                                                          imposed. Special Condition: Fact
     Not to encumber property                                             witnesses on the list provided by the

     May not visit transportation establishments                          Government – No Communication
     Home Confinement/Electronic Monitoring and/or                        about the facts of the case, except
     Curfew          pm to           am, paid by                          through counsel.
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                            Time from today to ________ excluded
     Other:                                                                 from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:         Time:             Judge:                          Place:
Report RE Counsel: 6/27/2023 at 9:45am before Chief Magistrate Judge Torres
PTD/Bond Hearing:
Arraignment:                 6/27/2023 at 9:45am before Chief Magistrate Judge Torres
Status Conference RE:
      Stephanie McCarn, Court Reporter                              Time in Court: 14 mins.
                           s/Jonathan Goodman                                            Magistrate Judge
